                   Case 5:06-cr-00014-WTM-BWC Document 1202 Filed 01/18/19 Page 1 of 1
AO 247(10/11) Order Regarding Motion Tor Sentence Reduction Puriuanlto 18 U.SC. § 3582(cK2)                               Page 1 of2(Page 2 Not for Public Disclosure)



                                                             United States District Court
                                                                                  for the
                                                                  Southern District of Georgia
                                                                         Waycross Division

                        United States of America
                                       V.

                                                                                        Case No: 5:06-CR-00014-l
                         Franklin Lamar Williams
                                                                                        USMNo: 12952-02!
Date of Original Judgment:         June 20. 2007                                        Richard M. Darden
Date of Previous Amended Judgment; October 20. 2008                                     Defendant's Attorney
(Use Dale ofLas! AmendedJudgmem. ifany)


                                         Order Rcgardltig Motion for Sentence Reduction Pursuant to 18 U.S.C.§ 3582(c)(2)

           Upon motion of                the defendant I I the Director of the Bureau of Prisons Q]the court under 18U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IBI.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is;
Q DENIED. 13(1 GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected imhe lastjudgmem
                          issued) o( 235           months is reduced to                                       time served


                                                  (Complete Parts/ and II ofPage 2 when motion is granted)



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 Except as otherwise provided above, all provisions ofthe judgment dated June 20.2007.                                shall remain in effect.

IT IS SO ORDERED.


 Order Date:            January 18. 2019
                                                                                                            Judge's signtnur^/

                                                                                         William T. Moore, Jr.
                                                                                         Judge, U.S. District Court
 Effective Date:                                                                         Southern District of Georgia
                         (ifdifferentfrom order date)                                                     Printed name and lille
